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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )       CRIMINAL NO. 17-10092-NMG
                                            )
GARY P. DECICCO,                            )
                                            )
              Defendant.                    )

                            UNITED STATES’ OBJECTIONS TO
                           DEFENDANT’S PROPOSED EXHIBITS

       The United States respectfully submits these objections to the Defendant’s First

Amended Exhibit List (Docket No. 275):

PROP.         DESCRIPTION                                        OBJECTION
EX. #
  1   Certified Copy of 209A Order         Fed.R.Evid. 801, 802 (hearsay); 608, 609 (improper
      from Malden District Court,          impeachment); 403 (unfair prejudice); 611(a)(3)
      June 3, 1993                         (protection of witness from harassment or undue
                                           embarrassment); 901 (authenticity); see Docket No. 260,
                                           United States’ Motion in Limine to Preclude Defendant
                                           from Offering or Eliciting Testimony Regarding Civil
                                           Restraining Orders
  2     Email exchange between A.          Fed.R.Evid. 801, 802 (hearsay); 901 (authenticity); see
        Bisignani and G. DeCicco,          Docket No. 262, United States’ Motion in Limine to to
        November 19, 2012                  Preclude Defendant from Offering or Eliciting His Own
                                           Self-Serving Statements
  3     Purchase and Sales Agreement
        for 173 Main St, Saugus, MA,
        April 10, 2005
  4     Certified Copy of Mass.            Fed.R.Evid. 401 (relevance)
        Secretary of State Records for
        GDC Construction, LLC,
        Certificate of Organization,
        March 22, 2005
  5     Mortgage for 173 Main St.,
        Saugus, MA, May 3, 2005
  6     Quitclaim deed for 173 Main
        St, Saugus, MA, May 3, 2005
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7    Engineering Alliance Customer     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Balance Detail for CW-1,          (authenticity)
     September 1, 2005 –October
     11, 2014
8    WITHDRAWN BY
     DEFENDANT
9    Agreement for Professional        Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Services, Engineering Alliance,   (authenticity)
     July 15, 2005
10   Agreement for Professional        Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Services, Engineering Alliance    (authenticity)
     – Revised, July 25, 2005
11   Documents pertaining to           Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     demolition of building on 173     (authenticity)
     Main St., Saugus, MA
     (2003)
12   Field reports from D. DiLullo     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     to F. Varone re: 173 Main         (authenticity)
     Street (Sept. 24 2013-March 24,
     2013)
13   DiLullo Proposal to CW-1 re:      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     173 Main Street, Saugus, MA,      (authenticity)
     May 7, 2013
14   Engineering Alliance              Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Submission to Saugus Planning     (authenticity)
     Board, March 16, 2006
15   Engineering Alliance              Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Submission to MassHighway,        (authenticity)
     April 13, 2006
16   Telephone Records of G.           Fed.R.Evid. 401 (relevance) as to certain time periods
     DeCicco
17   D. DiLullo handwritten notes      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     and attachments to P. Varone      (authenticity)
     re: 173 Main Street
18   Certified Copy of 209A Order      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 608, 609
     from Waltham District Court,      (improper impeachment); 403 (unfair prejudice);
     November 12, 2009                 611(a)(3) (protection of witness from harassment or
                                       undue embarrassment); 901 (authenticity); see Docket
                                       No. 260, United States’ Motion in Limine to Preclude
                                       Defendant from Offering or Eliciting Testimony
                                       Regarding Civil Restraining Orders




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19   Certified Copy of Affidavit re:   Fed.R.Evid. 401 (relevance) 801, 802 (hearsay); 608, 609
     209A Application from             (improper impeachment); 403 (unfair prejudice);
     Waltham District Court,           611(a)(3) (protection of witness from harassment or undue
     November 12, 2009                 embarrassment); 901 (authenticity); see Docket No. 260,
                                       United States’ Motion in Limine to Preclude Defendant
                                       from Offering or Eliciting Testimony Regarding Civil
                                       Restraining Orders
20   Engineering Alliance Proposed     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Plans for 173 Main Street,        (authenticity)
     Saugus, MA, June 24, 2013
21   Certified Copy of Mass.           Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Secretary of State Records for    (authenticity)
     Atlantis Marina Docks, LLC,
     Certificate of Organization,
     March 31, 2009
22   WITHDRAWN BY
     DEFENDANT
23   WITHDRAWN BY
     DEFENDANT
24   Posting about Allston Motor       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sports, October 19, 2009          (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                       witness from harassment or undue embarrassment); see
                                       United States’ Motion in Limine to Preclude Defendant
                                       from Offering or Eliciting Certain Information About
                                       CW-1 (Docket No. 261)
25   Posting about Allston Motor       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sports, August 2, 2010            (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                       witness from harassment or undue embarrassment); see
                                       United States’ Motion in Limine to Preclude Defendant
                                       from Offering or Eliciting Certain Information About
                                       CW-1 (Docket No. 261)
26   Posting about Allston Motor       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sports, April 10, 2011            (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                       witness from harassment or undue embarrassment); see
                                       United States’ Motion in Limine to Preclude Defendant
                                       from Offering or Eliciting Certain Information About
                                       CW-1 (Docket No. 261)
27   Posting about Allston Motor       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sports, August 11, 2009           (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                       witness from harassment or undue embarrassment); see
                                       United States’ Motion in Limine to Preclude Defendant
                                       from Offering or Eliciting Certain Information About
                                       CW-1 (Docket No. 261)




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28   Posting about Allston Motor        Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sports, August 31, 2009            (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                        witness from harassment or undue embarrassment); see
                                        United States’ Motion in Limine to Preclude Defendant
                                        from Offering or Eliciting Certain Information About
                                        CW-1 (Docket No. 261)
29   Audio Recording of voice           Fed.R.Evid. 401 (relevance); 403 (prejudice); 608(b)
     message, CW-1 to L.                (improper impeachment); 611(a)(3) (protection of
     Cunningham, Jan. 15, 2010          witness from harassment or undue embarrassment); see
                                        United States’ Motion in Limine to Exclude Evidence of
                                        a Phone Message Left by CW-1 in 2010 (Docket No.
                                        188); Government’s Opposition to Defendant’s Motion
                                        in Limine to Admit Evidence (Docket No. 248)
30   Certified transcript and police    Fed.R.Evid. 401 (relevance); 403 (prejudice); 608(b)
     report re: audio recording of      (improper impeachment); 611(a)(3) (protection of
     threat made by CW-1 to             witness from harassment or undue embarrassment); 801,
     L.Cunningham on January 15,        802 (hearsay); see United States’ Motion in Limine to
     2010, from Plymouth District       Exclude Evidence of a Phone Message Left by CW-1 in
     Court                              2010 (Docket No. 188); Government’s Opposition to
                                        Defendant’s Motion in Limine to Admit Evidence
                                        (Docket No. 248)
31   Lynnway Auto Sales Invoice re:     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     2012 Maserati, May 15, 2012        (authenticity)
32   Lynnway Auto Sales Documents       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     re: sale of Ferrari Spider, Aug.   (authenticity)
     27, 2013
33   Engineering Alliance Letter to     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Saugus Conservation Comm. re:      (authenticity)
     173 Main Street, Saugus, MA,
     June 24, 2013
34   Engineering Alliance Letter to     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Saugus Planning Board, re: 173     (authenticity)
     Main Street, Saugus, MA, June
     24, 2013
35   Purchase documents re: G.          Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     DeCicco purchase of Rolls-         (authenticity)
     Royce
36   Scourtas e-mail to CW-1 re:        Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Porsche show, forwarded to         (authenticity)
     DeCicco, July 23, 2013
37   DeCicco email to Scourtas re:      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Porsche Tire, March 5, 2014        (authenticity); see Docket No. 262, United States’
                                        Motion in Limine to to Preclude Defendant from
                                        Offering or Eliciting His Own Self-Serving Statements
                                        (Docket No. 260)


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38   Letter from Engineering Alliance    Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     to Saugus Conservation Comm.,       (authenticity)
     re: 173 Main Street, Saugus, MA,
     July 24, 2013
39   GDC Construction Check to           Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Lynnway Auto Sales, Aug. 1,         (authenticity)
     2013
40   DiLullo Associates Plans, Pricing
     Set, Aug. 2, 2013
41   Photographs of K. DeBenedictis      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     and R. Scourtas at Porsche show,    (authenticity)
     August 4, 2013
42   Engineering Alliance Letter to      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Saugus Planning Board, Aug. 7,      (authenticity)
     2013
43   Engineering Alliance Letter to      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Saugus Conservation Comm. re:       (authenticity)
     173 Main Street, Saugus, MA,
     Aug. 13, 2013
44   DiLullo Associates Revised
     Architectural Plans, 173 Main St,
     Saugus, MA, Aug. 14, 2013
45   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Assessor’s Dept.,      (authenticity)
     Aug. 14, 2013
46   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Building Dept.,        (authenticity)
     Aug. 14, 2013
47   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Conservation Dept.,    (authenticity)
     Aug. 14, 2013
48   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, DPW. Dept., Aug.       (authenticity)
     14, 2013
49   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Engineering Dept.,     (authenticity)
     Aug. 14, 2013
50   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Health Dept., Aug.     (authenticity)
     14, 2013
51   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Plumbing Dept.,        (authenticity)
     Aug. 14, 2013
52   Saugus Building Dept.               Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Application, Planning Board.,       (authenticity)
     Aug. 14, 2013

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53   Town of Saugus Building Permit     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Instructions, Aug. 15, 2013        (authenticity)
54   Letter from R. Salvo to Saugus     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Planning Bd., Sept. 18, 2014       (authenticity)
55   Final Construction Control         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Document for 173 Main St., July    (authenticity)
     1, 2014
56   Letter from R. Salvo to Saugus     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Planning Bd., July 17, 2014        (authenticity)
57   Initial Construction Control       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Document, 173 Main St., Saugus,    (authenticity)
     MA, Aug. 15, 2013
58   Saugus Application for Building    Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Permit, 173 Main St., Saugus,      (authenticity)
     MA, Aug. 15, 2013
59   Saugus Foundation Permit, 173      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Main St., Saugus, MA, Aug. 19,     (authenticity)
     2013
60   Town of Saugus Planning Board      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Records, Sept. 26, 2013            (authenticity)
61   Town of Saugus Board of Health     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Sewer Permit, Sept. 30, 2013       (authenticity)
62   Mass DEP Records (Wetlands         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     approval for AEG), Oct. 1, 2013    (authenticity)
63   Town of Saugus Application for     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Permit for Electrical Work, Oct.   (authenticity)
     14, 2013
64   Purchase documents re: Buick,      Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     CarProLive Records, Oct. 31,       (authenticity)
     2013
65   DiLullo Associates Revised
     Architectural Plans, 173 Main
     St., Saugus, MA, Nov. 11, 2013
66   Sale records re: Boss Hoss         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     motorcycle, Lynnway Auto           (authenticity)
     Sales, Nov. 13, 2013
67   Commonwealth of Mass.              Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Workers’ Comp. Ins. Aff. of J.     (authenticity)
     D’Olimpio, Dec. 2, 2013
68   Phone records of N. Spinosa        Fed.R.Evid. 401 (relevance)
69   E-mail and attachment, D.          Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Dilullo to M. Welsh (CW-1          (authenticity); 403 (prejudice)
     threat), Mar. 24, 2014
70   P. Varone E-Mail to G. DeCicco,    Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Mar. 25, 2014                      (authenticity); 403 (prejudice)
71   FBI 302 Report (March 15, 2017)    Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)

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72   FBI 302 Report (March 16, 2017)     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)
73   Video of arrest of Mr. DeCicco      Fed.R.Evid. 401 (relevance)
     from CW-1’s phone (March 17,
     2017)
74   MarJam/Interpro Notice of           Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)
     Contract, Aug. 6, 2014
75   FD-1057, Feb. 17, 2015              Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)
76   FD-1057, Nov. 11, 2015              Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)
77   Saugus Special Permit granted re:   Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     173 Main Street, Saugus, MA,        (authenticity)
     June 20, 2013
78   Interpro/United Rentals Notice of   Fed.R.Evid. 401 (relevance); 801, 802 (hearsay)
     Contract against Sahar LLC,
     April 10, 2014
79   E-mail from feedback@cars.com       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     re: Audi Q7, July 31, 2014          (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                         witness from harassment or undue embarrassment); see
                                         United States’ Motion in Limine to Preclude Defendant
                                         from Offering or Eliciting Certain Information About
                                         CW-1 (Docket No. 261)
80   Town of Saugus Public Records       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Request, made by R. Salvo, Feb.     (authenticity)
     28, 2018
81   Government subpoena of CW-1’s       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay);
     phone records and response,         Fed.R.Crim.P. 6(e) (grand jury secrecy)
     April 17, 2017
82   Town of Saugus Certificate of       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Occupancy Compliance, Oct. 16,      (authenticity)
     2014
83   DiLullo handwritten projected       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     cost of building Auto Excellence    (authenticity)
84   Town of Saugus Special Permit       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Granted, Oct. 26, 2005              (authenticity)
85   Saugus Planning Board Site Plan     Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     Review Action, Aug. 6, 2013         (authenticity)
86   Town of Saugus Sheet metal          Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     permit, March 14, 2014              (authenticity)
87   Town of Saugus Legal Opinion        Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     re: Lapse of Special Permit, Nov.   (authenticity)
     3, 2008
88   Systems Electrical Services         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
     proposal, invoices and              (authenticity); 403 (prejudice); 611(a)(3) (protection of
     correspondence with CW-1            witness from harassment or undue embarrassment); see
                                         United States’ Motion in Limine to Preclude Defendant
                                         from Offering or Eliciting Certain Information About
                                         CW-1 (Docket No. 261)

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89    Check to R. Aswad re: 29 Thayer       Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
      Ave. LLC., Aug. 1, 2012               (authenticity)
90    Docket of Systems Electrical          Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
      Services, Inc. v. Medi Mirnasiri      (authenticity); 403 (prejudice); see United States’
      D/B/A/ Auto Excellence Group          Motion in Limine to Preclude Defendant from Offering
      LLC, 1514SC001264 (Chelsea            or Eliciting Certain Information About CW-1 (Docket
      District Court)                       No. 261)
91    Text messages between CW-1            Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
      and Ralph Teixeira, Jan. 10, 2017     (authenticity); 403 (prejudice); 611(a)(3) (protection of
                                            witness from harassment or undue embarrassment); see
                                            United States’ Motion in Limine to Preclude Defendant
                                            from Offering or Eliciting Certain Information About
                                            CW-1 (Docket No. 261)
92    Grand Jury subpoena re: R.            Fed.R.Evid. 401 (relevance); 801, 802 (hearsay);
      Aswad, Jan. 24, 2017                  Fed.R.Crim.P. 6(e) (grand jury secrecy)
93    Immunity Order re: GF-1, Feb.         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay);
      28, 2017                              Fed.R.Crim.P. 6(e) (grand jury secrecy)
94    Bill of sale of Membership            Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
      Interest – 29 Thayer Ave LLC,         (authenticity)
      Aug. 2012
95    Saugus Police Department              Fed.R.Evid. 801, 802 (hearsay)
      Report, August 4, 2014 – Oct. 16,
      2014
96    Saugus Police Department              Fed.R.Evid. 801, 802 (hearsay)
      Report, Jan. 11-12, 2015
97    Text message from G. DeCicco          Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
      to GF-1 including photograph of       (authenticity); see Docket No. 262, United States’
      title to Ford Expedition, April 30,   Motion in Limine to to Preclude Defendant from
      2014                                  Offering or Eliciting His Own Self-Serving Statements
                                            (Docket No. 260)
98    Check from P. Avedisian to G.         NOT YET PRODUCED BY DEFENDANT
      DeCicco
99    Sale records re: purchase of used     NOT YET PRODUCED BY DEFENDANT
      Ford Expedition from CW-1,
      April 2014
100   WITHDRAWN BY
      DEFENDANT
101   Photograph of GF-1 and G.             Fed.R.Evid. 401 (relevance)
      DeCicco
102   Photograph of G. DeCicco and L.       Fed.R.Evid. 401 (relevance)
      DeCicco
103   Photograph of L. DeCicco and V.       Fed.R.Evid. 401 (relevance)
      Laurano
104   Photograph of Ford Expedition         Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
                                            (authenticity)


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105    WITHDRAWN BY
       DEFENDANT
106    WITHDRAWN BY
       DEFENDANT
107    Photograph of Atlantis Marina   Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
                                       (authenticity)
108    Satellite photograph of Nectar  Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       Place, Saugus, MA               (authenticity)
109    Photographs of Auto Excellence  Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       Group, June 2014                (authenticity)
110    Engineering Alliance documents Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       re: 29 Thayer Ave.              (authenticity)
111    Engineering Alliance documents Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       re: 60 Salem Turnpike           (authenticity)
112    Engineering Alliance documents Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       re: Atlantis Marina             (authenticity)
113    Engineering Alliance documents Fed.R.Evid. 401 (relevance); 801, 802 (hearsay); 901
       re: Pleasant Court              (authenticity)
114    Photograph of G. DeCicco and V. Fed.R.Evid. 401 (relevance)
       Laurano


                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

                                               By:    /s/Kristina E. Barclay
                                                      KRISTINA E. BARCLAY
                                                      ROBERT E. RICHARDSON
                                                      Assistant U.S. Attorneys
                                                      U.S. Attorney’s Office
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                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      (617) 748-3100

Date: May 21, 2018




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                                      Certificate of Service

        I hereby certify that this document was filed through the ECF system, and therefore it
was sent electronically to the registered participants as identified on the Notice of Electronic
Filing.

                                                      /s/Kristina E. Barclay
                                                      KRISTINA E. BARCLAY
                                                      Assistant U.S. Attorney
Date: May 21, 2018




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